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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA                         CASE NO. 21-20151-CR-ALTMAN

        Plaintiff,

  vs.

  MIGUEL ANDRES GUTIERREZ DIAZ, et al

        Defendant.
  ______________________________________/


                              MOTION FOR EVALUATION

        Comes now the Defendant, MIGUEL ANDRES GUTIERREZ DIAZ, by and
  through undersigned counsel, and moves this Honorable Court for an Order for psychiatric
  evaluation of the Defendant. In support of this Motion the Defendant would state the
  following:
        1.      The Defendant is currently facing charges by indictment before this Honorable
             Court.
        2.      The Defendant is under Pre-Trial Detention and currently housed at the Federal
             Detention Center, (FDC) in Miami.
        3.      Undersigned counsel has become aware of and personally observed conduct
             which leads counsel to believe a psychiatric evaluation is needed to determine
             competency.
        4.      Undersigned council was notified yesterday, January 4, 2022, that FDC has
             placed the Defendant on suicide watch. This is the second time the Defendant has
             been placed on suicide watch since December 2021.
        5.      Undersigned counsel would request the Court enter an Order directing FDC to
             have the proper psychiatric personnel perform an evaluation to determine the
             Defendant’s competency to stand trial and go forward with the case.
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        WHEREFORE, the Defendant request this Honorable Court enter an Order directing
  the Federal Detention Center to evaluate the Defendant, and issue a report regarding the
  evaluation.
                                          Respectfully submitted

                                          s/ Dennis N. Urbano
                                          DENNIS N. URBANO, ESQUIRE
                                          FLORIDA BAR NO. 221872
                                          On behalf of Miguel Andres Gutierrez Diaz
                                          11440 N. Kendall Drive, Penthouse 400
                                          Miami, Florida 33176
                                          (305) 595-2400


                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing document was electronically filed with the
  Clerk of the Court using CM/ECF on this 5th day of January, 2022.

                                          s/ Dennis N. Urbano
                                          DENNIS N. URBANO, ESQUIRE
